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        Attachment A to
        Pérez Declaration
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CASE:      Veasey v. Abbott                                                                                                       ATTORNEYS' FEES FORM
DOCKET NO: No. 2:13-cv-193

Myrna Pérez
    Date       Task Performed                                                                                                     Total Hours Requested Hours
               Review Veasey v. Perry Complaint (.8); internal meeting re: staffing litigation (.5); review & respond via
     6/26/2013 emails & calls regarding SB 14 (2.3)                                                                               3.6        1.3
               Call with litigators re: Shelby County (1); review & discuss attorney research on VRA discriminatory intent
     6/27/2013 findings (.9); confer w/ co-counsel re: SB 14 (1.9)                                                                3.8        2.8

     6/28/2013 Meet with V.Agraharkar re:VRA discriminatory intent findings (1); review and respond to emails re: same (.6) 1.6              1.6
      7/2/2013 Confer with co-counsel re: SB 14 response (1)                                                                       1         0
      7/3/2013 Review and respond to emails re: DOJ role in case (.2)                                                              0.2       0.2
      7/5/2013 Review and respond to emails re: attorney research VRA discriminatory intent findings (.8)                          0.8       0.8
               Meet with V. Agraharkar re: VRA discriminatory intent findings (1); confer with co-counsel re: Shelby County
     7/11/2013 impact on case (1); confer w VRA litigators re:post-Shelby cases and fact patterns (1)                              3         1
     7/15/2013 Correspond with client MALC re: SB 14 (.3)                                                                          0.3       0.1
     7/25/2013 Review and respond to emails re: DOJ position on SB 14 (.1)                                                         0.1       0.1
     7/29/2013 Review Supreme Court judgement re: filing fees (.1); review emails re: same (.1)                                    0.2       0.2
               Confer w/ co counsel re: next steps in litigation (1.0); review and respond to emails re: attorney research on
      8/5/2013 locations of impacted individuals (.2)                                                                              1.2       0.2
     8/14/2013 Call with potential co-counsel regarding joining case (.5)                                                          0.5       0.5
               Confer with co-counsel and DOJ attorneys re: filing (.5); call with Lawyers Committee and E. Rosenberg re:
     8/15/2013 potential co-counsel joining case (1)                                                                               1.5       1.5
               Review and respond to emails re: preparation for call on plaintiffs (.3); call with M. Posner, E. Rosenberg, J.
     8/19/2013 Garza re: plaintiffs (.5); reviewing and editing draft complaint (1.8)                                              2.6       3.1
     8/21/2013 Review and edit co-counsel agreement (.9)                                                                           0.9       0.9
               Confer w/ co-counsel re: co-counsel agreement (.6); confer with E. Rosenberg re: co-counsel coordination (.3);
     8/26/2013 review and respond to emails re: name match training (.2)                                                           1.1       0.2
               Call with E. Rosenberg and others re: complaint (.5); call with potential co-counsel re: complaint (.5); call with
               J. Sullivan and others re: Houston election and SB 14 implementation (.5); review and respond to emails re:
               Houston election and SB 14 implementation (.1); review and respond to emails re: possibility of intervening in
     8/27/2013 case (.1); review map of possible areas of high impact of SB 14 (.3)                                                2         2
     8/28/2013 Review John Roberts to AG memo (.2); review co-counsel agreement (.3)                                               0.5       0.5
               Review revised complaint (.6); review and respond to emails re: plaintiff outreach (.3); review and respond to
     8/29/2013 emails regarding revisions to complaint (.6)                                                                        1.5       1.5
     8/30/2013 Review emails re: plaintiff outreach updates (.2) review and identify Texas locations of interest (1)               1.2       1.2
      9/1/2013 Review and respond to emailsB9:B26 re: plaintiff outreach (.2)                                                      0.2       0.2
      9/3/2013 Confer with w co-counsel re: re: revisions to complaint & plaintiff outreach (1.5)                                  1.5       1.5
               Call with J. Garza and others re: plaintiff outreach (.5); review and respond to emails re: plaintiff outreach &
               Texas law (.4); review and respond to emails re: conflicts check (.1); meet with V. Agraharkar re: plaintiff
      9/4/2013 outreach & intake (.3); call with E. Rosenberg regarding further proceedings (1.0)                                  2.3       1.2
      9/5/2013 Call with potential partner on the ground re: plaintiff outreach (.5)                                               0.5       0.5
      9/6/2013 Review and respond to emails re: co-counsel agreement (.2)                                                          0.2       0.2
      9/9/2013 Review and respond to emails re: plaintiff outreach (.1); call with V. Agraharkar re: plaintiff outreach (.3)       0.4       0.4
     9/10/2013 Review flyer re: plaintiff outreach (.2); review and respond to emails re: plaintiff outreach (.2)                  0.4       0.4
               Review and compile internal revisions re: complaint & co-counsel agreement (.3); call with E. Rosenberg, M.
               Posner, and J. Garza re: complaint & co-counsel agreement (.5); review and respond to emails re: plaintiff
     9/11/2013 outreach (.1)                                                                                                       0.9       0.4
     9/12/2013 Review and revise complaint (1.5); review and respond to emails re: flyer for plaintiff outreach (.1)               1.6       1.6
     9/13/2013 Confer w/ co-counsel re: complaint (.3)                                                                             0.3       0.3
     9/17/2013 Confer with co-counsel re: filing complaint (.3)                                                                    0.3       0
               Meeting by phone with DOJ and Texas re: Rule 26 conference (.4); review pro hac vice, co-counsel
     9/18/2013 agreements, and retainers (.5)                                                                                      0.9       0
     9/20/2013 Confer w/ all counsel Rule 26 issues (.5); confer w/ non-DOJ Ps re: Rule 26 issues (.5)                             1         0
     9/23/2013 Confer   w/ co  counsel re: filing (.5)                                                                             0.5       0
     9/24/2013 Review and respond to emails from co-counsel re: experts (.3)                                                       0.3       0.3
               Review voter education flyer re: ID requirements (.1); review and respond to emails from clients re: Section 2
     9/25/2013 and causality (.2); call with private plaintiffs and DOJ re: hearing (1)                                            1.3       0.3
     9/26/2013 Call with potential partner re: Texans without SB 14 ID (.5)                                                        0.5       0.3
               Confer w/ co-counsel and DOJ attys re: trial preparation (.6); Review and provide feedback to J. Clark re:
     9/27/2013 voter education intake questionnaire for outreach partner organization (.2)                                         0.8       0.8
               Confer w private plaintiffs re: trial preparation (.5); confer with co-counsel re: prep for private plaintiffs call
               (.5); Review Section 2 proof points draft document (.2); review and respond to emails from V. Agraharkar re:
     10/1/2013 outreach to individuals without SB 14 ID (.1)                                                                       1.3       0.3
               Review and respond to emails re: DOJ motion for stay (.2); Confer with co-counsel re: reply to DOJ's motion
     10/2/2013 for a stay (.5)                                                                                                     0.7       0
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           Review and respond to emails from co-counsel re: reply to DOJ motion for a stay (.1); Review notes from court
 10/3/2013 conference re: motion for a stay (.2)                                                                               0.3   0.2
 10/4/2013 Review and respond to emails re: court conference on stay (.2).                                                     0.2   0
 10/8/2013 Meet with V. Agraharkar re: preparation for resentation to clients (.5)                                             0.5   0.5
           Review and respond to emails re: outreach to individuals impacted by SB 14 (.2); review email re: trial
 10/9/2013 schedule (.1)                                                                                                       0.3   0.2
           Review and respond to emails re: letter to True the Vote (.3); call with J. Clark re: court conference regarding
10/11/2013 stay (.2)                                                                                                           0.5   0.2
10/15/2013 Review memo and meet with J. Clark re: vote denial research (.3); draft language re: vote denial (.5)               0.8   0.8
10/17/2013 Confer w/ co counsel and private plaintiffs re: scheduling (.4); review notes on call re: Section 2 claims (.1)     0.5   0.1
10/23/2013 Review and respond to emails re: identifying impacted individuals (.1)                                              0.1   0.1
10/24/2013 Meet with Y. Melville, V. Agraharkar, and J. Clark re: identifying impacted individuals (.3)                        0.3   0.3
           Confer w/ Co-counsel re: Rule 26 conference (.3); Call with DOJ and private plaintiffs re: same (.3); review
10/25/2013 and respond to emails re: Texas Motion to Dismiss (.1)                                                              0.7   0.1
10/28/2013 Rule 26(f) telephonic conference (.5)                                                                               0.5   0
10/29/2013 Review attorney research re: vote denial cases (.2)                                                                 0.2   0.2
10/30/2013 Confer w/ Co-counsel re: Motion to Dismiss (.5)                                                                     0.5   0
           Review and respond to draft Response to Motion to Dismiss (.3); review DOJ proposed Rule 26f report and
10/31/2013 schedule (.1)                                                                                                       0.4   0
           Review and respond to emails re: Rule 26 filing submission (.2); review and respond to V. Agraharkar work
 11/1/2013 re: plaintiff outreach (.2)                                                                                         0.4   0.2
 11/4/2013 Revew and respond to emails re: Rule 26(f) report and proposed schedule (.3)                                        0.3   0
           Confer w/ Co-counse re: affected person outreach (.7); call with V. Agraharkar re: affected person outreach
 11/6/2013 (.1)                                                                                                                0.8   0.1
 11/7/2013 Review and respond to emails re: research on response to Motion to Dismiss (.5)                                     0.5   0.5
11/11/2013 Confer w/ Co-counsel re: experts (.8)                                                                               0.8   0
           Confer w/ Co-counsel re: Ortiz v. Steen complaint (.5); review and respond to emails from V. Agraharkar re:
11/13/2013 affected person outreach (.2)                                                                                       0.7   0.2
11/14/2013 Call with co-counsel re: intervention motion (.1)                                                                   0.1   0.1
           Confer with co-counsel with court re: scheduling (.2); review and respond to emails re: agrenda for joint call
11/15/2013 with private plaintiffs (.2); Initial pretrial conference (.7)                                                      1.1   0
11/16/2013 Review and respond to emails re: experts; call with E. Rosenberg and M. Posner re: same (.7)                        0.7   0
           Confer w/ co counsel and pp lawyers re: disclosures, motion to dismiss, experts (.5); review and respond to
11/18/2013 emails re: brief opposing motion to dismiss (.3); meet with V. Agraharkar re: initial disclosures (.2)              1     0.5
11/19/2013 Meet with V. Agraharkar, J. Clark re: initial disclosures brief (.2)                                                0.2   0.2
           Review draft Response to Motion to Dismiss (.5); Call with J. Clark re: same (.1); review and respond to
           emails re: legal research on prudential standing (.5); review and respond to emails re: draft public records
11/20/2013 request 2013 general election (.2); call with V. Agraharkar re: affected persons outreach (.1)                      1.4   0.9
           Review and revise draft Response to Motion to Dismiss (1.5); review and respond to emails re: Veasey
           response to motion to dismiss (.5); call with E. Simpson re: same (.1); review and respond to emails re:
11/21/2013 plaintiff outreach (.1)                                                                                             2.2   0.2
           Review draft response to motion to dismiss (1); review and respond to emails re: same (.2); Confer w/ co-
11/22/2013 counsel re: same (.1); review and respond to emails re: plaintiff ourtreach (.1)                                    1.4   0.1
11/24/2013 Review and respond to emails re: plaintiff outreach (.1)                                                            0.1   0.1
 12/3/2013 Confer w/ Co-counsel re: experts (.3)                                                                               0.3   0
 12/8/2013 Call w/ E. Rosenberg and M. Posner re purpose issues (.8)                                                           0.8   0
12/12/2013 Confer w/ Co-counsel and M. Barretto re: expert work (1)                                                            1     0
12/18/2013 Confer  w/  Co-counsel;   D. Chatman    re: expert work (1)                                                         1     0
12/20/2013 Confer w/ Co-counsel re: strategy (.3)                                                                              0.3   0
12/23/2013 Call with co-counsel re: strategy (.5)                                                                              0.5   0.5
  1/2/2014 Confer w/ Co-counsel re: strategy (.5)                                                                              0.5   0
  1/7/2014 Confer w/ Co-counsel re: Chatman (.5); call with D. Chatman, J. Clark, and V. Agraharkar re: experts (.5)           1     0
 1/13/2014 Call with M. Geever re: strategy for doc review (.5)                                                                0.5   0.5
 1/16/2014 Call with A. Stubbs, V. Agraharkar, J. Clark re: plaintiff outreach (.5)                                            0.5   0.5
           Draft email re: draft call agenda (.2); Confer w/ Co-counsel re: affected persons and jurisprudential decisions
 1/17/2014 (.5)                                                                                                                0.7   0.2
 1/19/2014 Draft email re: DOJ databases (0.1)                                                                                 0.1   0.1
           Review and respond to emails re: DOJ draft supplemental protective order (.5); Confer w/ Co-counsel re:
 1/20/2014 protective order (.5)                                                                                               1     0
 1/21/2014 Review and respond to emails re: scheduling calls (.1)                                                              0.1   0.1
           Confer w/ Co counsel and private plaintiffs re: database issues (1); Call with J. Clark re: Section 2 matters (.5);
 1/23/2014 Review and respond to emails re: jurisprudential issues, contracts with researcher (.2)                             1.7   0.7
 1/24/2014 Review and respond to emails re: DOJ algorithms (.3)                                                                0.3   0
 1/25/2014 Review and respond to emails re: DOJ algorithms (.2)                                                                0.2   0.2
           Review and respond to emails re: jurisprudential research with S. Rosdeitcher (.1); Draft email re: DOJ
 1/27/2014 matching protocols (.1)                                                                                             0.2   0.1
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          Call with potential partners (.5); Review and respond to emails re: DOJ call with Dallas County Administrator
1/28/2014 (.1)                                                                                                             0.6    0.6
1/29/2014 Review and respond to emails re: scheduling conference call on deposition interests (.1)                         0.1    0
          Review and respond to emails re: scheduling conference call on deposition interests (.1); Meet with Brennan
1/30/2014 Center staff re: jurisprudential research (.5)                                                                   0.6    0.5
1/31/2014 Review and respond to emails re: scheduling conference call on DOJ database matching (.1)                        0.1    0.1
 2/3/2014 Review and respond to emails re: protective order (.2)                                                           0.2    0

          Review and respond to emails re: scheduling conference call on depositions (.2); Review and respond to
          emails re: data dictionaries for federal databases (.2); Review and respond to news reports related to case (.1);
 2/4/2014 Confer w/ private plaintiffs re: 30(b)(6) notices (.5); Review and respond to emails re: 30(b)(6) notices (.2)    1.2   0.3
          Review and respond to emails re: 14th amendment argument (.3); Confer w/ co-counsel and private plaintiffs
          re: DOJ's proposed algorithms (.1); Review and respond to emails and memorandum re: legislative privilege
          issue (.2); Review and respond to draft 30(b)(6) notices for the Office of the Secretary of State and the
 2/5/2014 Department of Public Safety (1)                                                                                   1.6   0.5
          Review and circulate revisions to 30(b)(6) notices (1); Review and respond to emails with Sidney Rosdeitcher
 2/6/2014 re: statistical argument to prove disparity (.3).                                                                 1.3   0.3
          Review and respond to emails re: Chatman (.2); Review and circulate notes re: 14th amendment claim legal
 2/7/2014 research (1)                                                                                                      1.2   1
          Call with plaintiffs re: script for survey (.5); Review and respond to emails re: DOJ proposed order (.3);
2/10/2014 Review and respond to draft 30(b)(6) notices (.3); Review draft motion to modify (.5);                            1.6   0.8
2/11/2014 Call with S. Rosdeitcher re: 14th amendment claim legal research (1)                                              1     1
          Review and respond to emails on upcoming steps re: status conference (.5); Review and respond to emails re:
2/12/2014 Harris County provisional voter surveys (.5)                                                                      1     0.5
          Review and respond to emails on re: Barreto draft survey (.8); Review and respond to emails re: protective
          order updates (.8); Review and respond to emails re: legislative privilege issues (.8); Review and respond to
2/13/2014 emails re: setting trial time (.1)                                                                                2.5   0
2/14/2014 Confer with co-counsel re: TX jurisprudential issues (.3)                                                         0.3   0
2/17/2014 Review and respond to emails re: survey call (.5)                                                                 0.5   0.5
2/18/2014 Review and respond to emails re: Barreto survey insrument draft (.5)                                              0.5   0.5
          Review Legislative Privilege Brief (.5); Review and respond to emails re: Legislative Privilege Brief (.3);
2/19/2014 Review and respond to emails re: expert witnesses (.2)                                                            1     0.5
2/20/2014 Review Discovery issues (.5); Review next steps for discovery dispute (.2)                                        0.7   0.7
2/21/2014 Review research and respond to emails re: affected persons (1)                                                    1     1
2/26/2014 Review research and respond to emails re: affected persons (1)                                                    1     1
          Review and respond to emails re: 30(b)(6) witnesses (.5); Review and respond to emails on re: Barreto draft
          survey (.2); Review and respond to emails re: litigation schedule (.1); Confer with co-counsel re: Plaintiff
2/27/2014 meeting with discussion on DOJ (.5)                                                                               1.3   0.8
          Confer w/ co-counsel re: TX Photo ID Survey Call (.5); Review and respond to emails re: draft survey and
 3/3/2014 legislative privilege (.5);                                                                                       1     0.5
          Review and respond to emails re: fact witnesses and scheduling order (.6); Review witness executive
 3/4/2014 summaries (.5)                                                                                                    1.1   1.1
 3/5/2014 Confer w private plaintiffs (.5) Motion Hearing re: 162 Motion to Compel (1.8)                                    2.3   0
 3/6/2014 Review and respond to emails re: legislative witnesses (.5)                                                       0.5   0.5
 3/8/2014 Review and respond to emails re: scheduling order (.2)                                                            0.2   0.2
          Review and respond to emails re: jurisprudential memorandums (.1); Review draft supplemental brief on
3/10/2014 legislative privilege (.5)                                                                                        0.6   0.1
          Review and respond to emails re: DOJ subpoenas (.5); Review and respond to emails with S. Rosdeitcher re:
3/11/2014 third party witnesses (1)                                                                                         1.5   1.5
          Review and respond to emails re: affected individuals and outreach to counties (.1); Review private plaintiffs’
3/13/2014 and intervenors’ joint supplemental brief on privilege (1);                                                       1.1   1.1
3/14/2014 Review research on ethical and practical issues regarding representing a fact witness (.5).                       0.5   0.5
3/17/2014 Confer re Affected Persons (.5); Review and respond to emails re: coordinating objections (.5);                   1     0.5
3/19/2019 Review and respond to emails re: Draft 30(b)(6) notice of Dep't of State Health Services (.2)                     0.2   0.2
          Review and respond to emails re: voter fraud allegations in Texas (.5); Review and respond to emails re:
          statutory research memorandum on anderson-burdick claim (.5); Call on DOJ’s proposed allocation of leads on
3/22/2014 the 30(b)(6) depos (.2)                                                                                           1.2   1.2
3/25/2014 Review and respond to emails re: Section 2 Jurisprudential memorandum (.5)                                        0.5   0.5
3/26/2014 Confer on Motion to Compel (.5)                                                                                   0.5   0
 4/1/2014 Confer re: Affected Individuals Discussion (.5)                                                                   0.5   0.5
          Confer w/ co-counsel; Dan Chatman (.5); Review and respond to emails re: proposed withdrawal of one
 4/2/2014 30(b)(6) topic for DPS/SOS (.3); Review and respond to emails re: affected persons (.5)                           1.3   0.8
          Review and respond to emails re: agenda for call on trial protocol (.2); Confer w/ co-counsel re: Fact
          Discovery, Trial Protocol, and 30(b)(6) depositions (.5); Review and respond to emails to S. Rosdeitcher re:
 4/3/2014 Crawford memo (1)                                                                                                 1.7   1.2
 4/7/2014 Confer w co counsel re: status (1); Review and respond to emails re: Wisconsin post-trial brief (1)               2     1
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          Review and respond to emails re: 30(b)(6) depositions (.8); Review and respond to emails re: Crawford
 4/8/2014 memorandum (1) Status conference re: attorney/client priviledges (.3) (phone participation)                   2.1    1
4/10/2014 Confer with co-counsel with co-counsel re: strategy (1)                                                       1      0
          Review and respond to emails with S. Rosdeitcher re: Section 2 memorandum (1); Review and respond to
4/14/2014 emails re: Deposition prep (1)                                                                                2      2

          Review and respond to emails with V. Agraharkar and J. Clark re: Deposition prep (.5); Review and respond
4/15/2014 to emails re: Texas voter id survey (1.5); Review and respond to emails re: Public records request (.5)        2.5   2.5
          Review and respond to emails with V. Agraharkar and J. Clark re: Hearing on Texas' motion to compel (.5);
          Review and respond to emails re: TX public education experts (.5) Motion hearing re: amended motion to
4/16/2014 compel the production of documents (.3) (phone)                                                                1.3   1
4/17/2014 Review memo and respond to emails with V. Agraharkar and J. Clark re: Deposition prep (1.5)                    1.5   1.5
4/18/2014 Review and respond to emails with E. Rosenberg re: Deposition prep (.5)                                        0.5   0
          Review and respond to emails with plaintiffs re: Deposition defense prep (1); Review deposition memo and
4/21/2014 respond to emails with V. Agraharkar re: Deposition defense outline (1);                                       2     2
4/22/2014 Review and respond to emails with plaintiffs re: Responses to RFPs (.6);                                       0.6   0.6
4/23/2014 Participate in portion of Ingram deposition conference (.5); Post-deposition meeting with V. Agraharkar (.5)   1     0.5
          Review and respond to emails re: United States' Proposed Request for Judicial Notice (.5); Review and
          respond to emails with plaintiffs re: Upcoming deposition prep (1); Post-deposition Confer with co-counsel &
4/24/2014 private plaintiffs (1); Review and respond to emails re: document review and provision ballot research (.3)    2.8   0
          Review deposition memo and respond to emails with V. Agraharkar and J. Clark re: Deposition prep outline
          (1); Confer w co-counsel re: next steps (1); Review and respond to emails with V. Agraharkar re: Texas survey
4/25/2014 (1);                                                                                                           3     3
4/27/2014 Review deposition memo and respond to emails re: Peters deposition outline (1);                                1     1
4/28/2014 Review and edit Motion to Quash the Third –Party subpoenas (1)                                                 1     0
4/29/2014 Review deposition memo and respond to emails w J. Clark re: deposition outline (1);                            1     1
          Review and respond to emails with co counsel re: Rodriguez deposition (.3); Review and respond to emails
4/30/2014 with Clark and Agraharkar re: Depositon outlines (1); Peters' deposition and planning emails (3)               4.3   1.3
          Confer with co-counsel post-deposition (.6); Review and respond to emails with plaintiffs re: Deposition
 5/1/2014 strategy (.2); Review and respond to emails re: affected people research (.5); Motion hearing (phone) (.7)     2     0.7
 5/2/2014 Review and respond to emails re: DOJ depositions (.8);                                                         0.8   0
 5/5/2014 Review and respond to emails re: Discovery responses (.3);                                                     0.3   0
 5/6/2014 Review and respond to emails re: Cessinger depo prep (1);                                                      1     0
 5/7/2014 Review and respond to emails re: Discovery strategy (.3);                                                      0.3   0
          Review and respond to emails re: Affected persons (.3); Review and respond to emails re: discovery responses
 5/8/2014 (.8);                                                                                                          1.1   1.1
          Review and respond to emails re: expert witness selection (.5); Confer with co-counsel with Dan Chatman re:
 5/9/2014 research (.6);                                                                                                 1.1   0.5
5/10/2014 Review Chatman report and respond to emails re: same (2)                                                       2     0
          Review, edit, and respond to emails re: Judicial notice opposition (1); Confer with co-counsel re: Common
          interest privilege (.5); Review and respond to emails re: Cesinger deposition (.5); Confer with co-counsel and
          potential expert (.5); Review and respond to emails re: expert analysis (.3); Confer with co-counsel; Dan
5/12/2014 Chatman(.5)                                                                                                    3.3   0
5/13/2014 Review and respond to emails re: Veasey survey data and affected persons research (.8);                        0.8   0.8
          Review and respond to emails re: NAACP matching research (.5); Review and respond to emails re: witnesses
5/16/2014 (.1);                                                                                                          0.6   0.6
5/19/2014 Review and respond to emails re: Cesinger depo prep (1); Pre-call on Texas letter (.8)                         1.8   1.8
          Attend Cesinger deposition (3.2) (1:56 - 5:18) (telephonically); Review and respond to emails re: doc review
5/20/2014 (.1); Call with Texas on discovery responses (1)                                                               4.3   4.3
          Post-deposition meeting with Clark and Agraharkar (.5); Review and respond to emails re: common interest
5/21/2014 conference call (.2); Review and respond to emails re: NAACP RFPs (.5);                                        1.2   1
          Review and respond to emails re: expert witness research (.5); Call with potential expert (.1); Review and
5/22/2014 respond to emails re: provisional ballot research (.5);                                                        1.1   1.1
5/23/2014 Review and respond to emails re: search for affected persons (.5);                                             0.5   0.5
5/27/2014 Review expert witness draft report and provide feedback (2)                                                    2     2
          Review and respond to emails re: search for affected persons (.5); Confer w/ co-counsel Trial Protocol (.5)
5/28/2014 Miscellaneous hearing (telephonic) (.4)                                                                        1.4   0.5
          Review Draft Proposed Order and provide feedback (1); Review and respond to emails re: search for affected
5/29/2014 persons (.5); Review and respond to emails re: subpoenas (.5);                                                 2     1.5
5/30/2014 Review and respond to emails re: affected persons (.5);                                                        0.5   0.5
 6/1/2014 Review common interest doctrine joint statement and provide feedback (2)                                       2     0
          Review and respond to emails re common interest doctrine joint statement (.5); Review and respond to emails
 6/2/2014 re: affected persons (.5);                                                                                     1     0.5
          Confer with co-counsel re upcoming strategy (1); Review and respond to emails re: expert interview of
 6/3/2014 affected persons (.5);                                                                                         1.5   0.5
          Review and respond to emails re: Yannis deposition (.5); Review and respond to emails re: hiring expert
 6/4/2014 witness Lori Minnite (.5);                                                                                     1     0
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 6/5/2014 Review and respond to emails re: Voter education documents (.5); Call with L. Minnite (1)                      1.5   1.5
 6/6/2014 Status conference re: 240 Mtn to Compel (1) (telephonic)                                                       1     0
          Review and respond to emails re: discovery materials from L. Minnite (.5); Review and respond to emails re:
 6/9/2014 MALC document response (.5)                                                                                    1     0
          Review and respond to emails re: Plaintiff experts (.3); Review and respond to emails re: affected persons
6/10/2014 declarations (.5)                                                                                              0.8   0.8
          Call with expert witness D. Chatman (.5); Review and respond to emails re: Chatman report and survey report
6/11/2014 (1.5)                                                                                                          2     0
          Confer with co-counsel re expert witness strategy (1); Review and respond to emails re: affected persons
6/12/2014 (.8);TX Case: Status Conference (1)                                                                            2.8   0.8
6/13/2014 Review and respond to emails re: affected persons (.5); Review Barreto report (1)                              1.5   0.5
6/14/2014 Review Draft response on TX Motion re federal databases (1)                                                    1     0
          Respond to emails re Expert draft report (.3); Review and respond to emails re: L. Minnite research (.3);
6/16/2014 Review and respond to emails re: Barretto call (.2)                                                            0.8   0.8
6/18/2014 Review and respond to emails re OAG subpoena/deposition (.5)                                                   0.5   0
6/19/2014 Review and respond to emails re Minnite research (.5)                                                          0.5   0.5
6/21/2014 Review Chatman report and respond to emails re: same (2);                                                      2     0
          Review and respond to emails re Minnite expert report (.5); Review and respond to emails re affected persons
6/23/2014 depositions (.5)                                                                                               1     0.5
          Review expert reports and provide feedback (1); Review and respond to emails re testimony strategy (1);
          Confer with co-counsel re expert witness report (1); Review and respond to emails re MALC 30(b)(6)
6/24/2014 deposition (.3); Review and respond to emails re affected person (.5)                                          3.8   1.8
6/25/2014 Review and respond to emails re Minnite expert report (3)                                                      3     2
6/26/2014 Review and respond to emails re Minnite expert report (3)                                                      3     2
          Review and respond to emails re Veasey disclosures (.6); Review and respond to emails re Minnite expert
6/27/2014 report (1)                                                                                                     1.6   1.6
          Review and respond to emails re Minnite expert report (1); Review and respond to emails re upcoming
6/30/2014 depositions (1)                                                                                                2     2
 7/1/2014 Confer re expert report (1)                                                                                    1     0
 7/2/2014 Confer re Ingram's testimony (2); Call with Minnite (1)                                                        3     1
          Review and respond to emails re Strategy for upcoming motions (.5); Review and respond to emails re affected
 7/3/2014 persons research (.5)                                                                                          1     1
 7/8/2014 Review and respond to emails re Minnite research (.5), Confer with co counsel re status Conference (.2)        0.7   0.5
 7/9/2014 Review and respond to emails re Findings of Fact and Conclusions of Law (1)                                    1     0
7/10/2014 Confer re: findings of facts and conclusions of law (1)                                                        1     1
7/11/2014 Review and respond to emails re witness prep strategy (1)                                                      1     0
          Review and respond to emails re witness prep strategy outline (2); Review and respond to emails re: deposition
7/14/2014 strategy (1); Review and respond to emails re: FOFs (.3)                                                       3.3   2.3
          Review and respond to emails re: FOFs (.6); Review and respond to emails re: affected persons (.2); Confer re
7/15/2014 Texas Motion for time extension (.5); Confer with G. Bledsoe (.8)                                              2.1   1.6
7/16/2014 Confer with co counsel re Texas motion (.5)                                                                    0.5   0
          Review and respond to emails re: research on absentee fraud in TX (.3); Confer with co counsel re: Texas
7/17/2014 motion (.5)                                                                                                    0.8   0.3
          Review and respond to emails re Minnite FOF research (1.5); Review and respond to V. Agraharkar re: FOF
7/18/2014 results section (1.5)                                                                                          3     3
7/19/2014 Review and respond to emails re: Cesinger FOFs (.3)                                                            0.3   0.1
7/21/2014 Review and respond to emails re: FOFs results section (1)                                                      1     1
          Review and respond to emails re: affected persons depositions (.3); Review and respond to : draft deposition
7/22/2014 prep outline (1); Review and respond to emails re: trial prep (.3)                                             1.6   1
7/23/2014 Confer re trial prep (1); Review and respond to emails re: discovery (.3)                                      1.3   0
          Status conference (.5); Review and respond to emails re: witness acquisition (.3); Confer with co-counsel re:
7/24/2014 hearing (.5)                                                                                                   1.3   0.3
7/25/2014 Review and respond to emails re: affected persons research (.3)                                                0.3   0
7/28/2014 Review and respond to emails re: TX renewed motion on fraud (.3)                                               0.3   0.3
7/29/2014 Review and respond to emails re: Mitchell depo (.3)                                                            0.3   0.3
          Review and respond to emails re: deposition strategy outline by V. Agraharkar (.3); Review and respond to
7/30/2014 emails re: FOFs (.3); Confer with co counsel re status conference (.6)                                         1.2   0.6
7/31/2014 Review and respond to emails re: affected persons dep (.3)                                                     0.3   0.3
 8/2/2014 Review TX's expert reports (2)                                                                                 2     2
          Finalize and circulate section 2 jurisprudntial memos (2); Review and respond to emails re: expert witness
 8/4/2014 depositions strategy memos (1)                                                                                 3     3
 8/5/2014 Review and respond to emails re: trial prep documents (.3); Confer with Private plaintiffs on next step (1)    1.3   0.3
          Review and respond to emails re: DOJ data request (.3); Confer with co-counsel with potential witness Dawn
          White (1); Review and respond to emails re: FOFs (.3); Call with private plaintiffs re: FOFs (.5); Texas
 8/6/2014 hearing regarding omission of records (.5); Confer with L. Minnite re Texas's view of voter fraud (1)          3.6   2.6
 8/7/2014 Review and respond to emails with V. Agraharkar and E. Rosenberg re: expert depositions (1)                    1     1
 8/8/2014 Review and respond to emails re: Minnite research (.7)                                                         0.7   0.7
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          Review and respond to emails re: affected persons strategy (.6); Review and respond to emails re: drafting
8/11/2014 FOFs (.3); Review and respond to emails re: Forrest Mitchell deposition (.3)                                    1.2    1
          Prepare, confer, and participate in Forrest Mitchell deposition (4.8) (telephonic; Review and respond to emails
          re: Draft C. of Law (1); Review and respond to emails re: Expert depositions (.3); Review and respond to
          emails re: Scheduling Minnite travel (.3); Review and respond to emails re: co-counsel engagement
8/12/2014 agreements (.3)                                                                                                 6.7    2.5
8/13/2014 Review and respond to emails re: COL draft (.3); Confer with co-counsel re: next steps (1)                      1.3    0.3
          Review and respond to emails re: DOJ's FOF DPS (.5); Conference with Court (.5); Confer w/ colleagues re:
8/14/2014 next steps (1)                                                                                                  2      0
          Review evidence section of draft FOF by V. Agraharkar (1); Review and respond to emails re: FOFs draft
8/15/2014 (1.1); Confer with colleagues re: next steps (1);                                                               3.1    2
8/16/2014 Review and confer on FOFs draft (2)                                                                             2      0

8/17/2014 Review and respond to emails re: FOFs draft (.9); Review and respond to emails re: DPS stats/research (1.1)    2       1.1
          Review drafts and respond to emails re: FOFs drafts (1.3); Review and respond to emails re: affected persons
8/18/2014 research (.6)                                                                                                  1.9     0.6
8/19/2014 Review FOFs draft and provide edits (1.8); Review Joint Pretrial Order (.7)                                    2.5     0

8/20/2014 Review and respond to emails re: FOFs draft (1); Review and respond to emails re: affected persons search (.5) 1.5     1.5
          Review and respond to emails re: witness designations (.7); Review and respond to emails re: pretrial
          conference and deposition strategy (.4); Review and respond to emails re: Lichtman deposition (.5); Review
          and respond to emails re: TX NAACP and MALC expert designations (1); Participate in hearing re: Opposed
8/21/2014 MOTION to Compel the Production of Documents (.3) (telephonically)                                              2.9    2.6
          Review and respond to emails re: witness list (.1); Review and respond to emails re: DOJ 30(b)(6) deposition
          witnesses (.5); Review, revise, and respond to emails re: FOFs draft (1.2) Telephonic Depo Prep with Lori
8/22/2014 Minnite (4)                                                                                                     5.8    5.8
8/24/2014 Review and respond to emails re: scheduling deposition of L. Minnite (1);                                       1      1
8/25/2014 Review and respond to emails re: witness list (.3); Review and respond to emails re: Minnite deposition (1)     1.3    1.3
8/26/2014 Review and respond to emails re: Defendants' exhibits (1)                                                       1      1
          Review and respond to emails re: Deposition designation and exhibit objections (1); Defend L Minnite
8/27/2014 Deposition (2.5) Final pretrial conference (1.5)(telephonic)                                                    5      3.5
          Review and respond to emails re: Recording of Minnite deposition (.5); Review and respond to emails re:
          questioning strategy (.6); Status conference re: defendants use of various' members documents at trial (.8);
8/28/2014 Motion hearing (.4)                                                                                             2.3    2.3
          Review and respond to emails re: Trial (1); Review and respond to emails re: Trial presentation exhibits (1);
          Watch live video of Bates testimony (1); Review and respond to emails re: L. Minnite trial preparation session
 9/2/2014 (.5);                                                                                                           3.5    2.5
          Confer with co-counsel with DOJ re: Witnesses, readings, timings, etc (1); Review and respond to emails re:
          Bates interview recap (.5); Review and respond to emails re: Minnite expert report (.5); Review Minnite
 9/3/2014 deposition transcript (1);                                                                                      3      3
          Review Bench transcript of 09/02/2014 hearing (1); Review and respond to emails re: Cesinger deposition
 9/4/2014 (.5);                                                                                                           1.5    0.5
          L. Minnite trial preparation session (1.5); Review Trial Day 3 transcript (1); Review and respond to emails re:
 9/5/2014 Minnite expert report (.3); Review and respond to emails re: Strategy for trial (.5);                           3.3    2.3
          Review and respond to emails re: defendants' witness list (.2); Review and respond to emails re: Strategy for
 9/6/2014 direct examination (.2); Review and respond to emails re: Upcoming deposition (.5);                             0.9    0.9
 9/7/2014 Travel to Texas for trial (5.3); Review and respond to emails re: Upcoming deposition (.5);                     5.8    0.5
          Review and respond to emails re: DOJ Objection letters (.2); Review and respond to emails re: Trial strategy
 9/8/2014 and setup (1); Attend Bench Trial (8.9)                                                                         10.1   1.2
          Bench Trial (9.3), Review and respond to emails re: Cesinger trial reading designations (.5); Review and
 9/9/2014 respond to emails re: trial exhibits (.5); Review and respond to emails re: trial strategy and recap (3);       13.3   4
          Attend Bench Trial (4); Review Ingram deposition (.5); Review and respond to emails re: SOS legal research
9/10/2014 (.5); travel home (5)                                                                                           10     1
          Review and respond to emails re: NOTICE Corrected Advisory Concerning DPS Web Site (.5); Review and
9/11/2014 respond to emails re: post-trial meeting (1.5);                                                                 2      0.5
9/13/2014 Review    FOF  brief (1.5);                                                                                     1.5    0
9/14/2014 Review and respond to emails re: FOF brief updates (.5);                                                        0.5    0.5
          Review and respond to emails re: FOF brief updates (1.5); Review and respond to emails re: FOF Minnite
9/15/2014 findings (.5); Review and respond to emails re: Revised COL (1);                                                3      3
9/16/2014 Review and provide edits re Revised COL (1.5);                                                                  1.5    1.5
          Review and respond to emails re Veasey revised remedy document (1.5); Confer with co-counsel for co
9/17/2014 counsel (1); Review and respond to emails re: Trial strategy (.5);                                              3      3
          Review, revise, and respond to emails re: FOF/COL updates (.5); Review and respond to emails re: legal
9/18/2014 research by V. Agraharkar (.5); Review and respond to emails re: trial strategy (.5);                           1.5    1.5
          Review and respond to emails re: Closing outline (1.5); Review and respond to emails re: strategy on Stay brief
9/21/2014 (.5);                                                                                                           2      2
9/22/2014 Confer with BC Texas team (1); Review and Revise Trial Transcripts Brief (1)                                    2      2
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 9/26/2014 Review and respond to emails re: communications stratgy (.2);                                                  0.2       0.2
 10/2/2014 Review and respond to emails re: communications strategy (.2);                                                 0.2       0.2
           Review and respond to emails re: Strategy for November 2014 elections (.2); Review and respond re: DOJ
 10/3/2014 brief (.2)                                                                                                     0.4       0.2
 10/6/2014 Review and respond to emails re: Draft remedial order (.5);                                                    0.5       0.5
 10/9/2014 Review and respond to emails re: Opinion and relief (1.5);                                                     1.5       1.5
           Review and respond to emails re: post-opinion briefings (1); Review and respond to emails re: Opposing
           counsel correspondence on Advisory filing (.5); Review and respond to emails re: witnesses (.5); Review and
10/10/2014 respond to emails re: COL (.2); Review and respond to emails re: Court's judgement/injunction (.2);            2.4       1.9
           Review and respond to emails re: Strategy over upcoming Stay briefings (.5); Review and Revise State of
10/11/2014 Texas’ Advisory (.5)                                                                                           1         1
           Confer with co-counsel with co counsel re: upcoming brief strategy (1); Review and edit Stay briefing (3);
           Review and respond to emails re: declarations (.5); Confer with co-counsel with co counsel re: upcoming brief
10/12/2014 strategy (1);                                                                                                  5.5       3.5
           Review and respond to emails re: filing strategy (.2); Review and respond to emails re: co counsel's Emergency
           Application to Vacate Stay draft (2.5); Review and respond to emails re: communications strategy (.5); Confer
10/13/2014 with co-counsel with W. Weiser and E. Rosenberg re: brief strategy (1.5)                                       4.7       4.2

           Review and respond to emails re: Texas' actions post-opinion (.5); Review and respond to emails re: co
           counsel's Emergency Application to Vacate Stay draft (1); Review and respond to emails re: 5th Circuit ruling
10/14/2014 (1); Confer with co-counsel re: 5th Circuit ruling (1.5); Review and respond to emails re: briefing strategy (.5); 4.5   3
           Draft section, revise, and respond to emails re Emergency Application to Vacate Stay draft (4); Review and
10/15/2014 respond to emails re: timing /logistics strategy for brief (.2);                                                   4.2   4.2
10/16/2014 Review and respond to emails re: TX respond to emergency stay (1.5);                                               1.5   1.5
           Review and respond to emails re: Supreme Court decision on stay (1.5); Review and respond to emails re:
10/18/2014 investigators (.5);                                                                                                2     2
           Review and respond to emails re: Upcoming elections strategy (.5); Review and respond to emails re: fee
10/20/2014 applciations (.1); Confer with co-counsel with co counsel re: upcoming strategy (1)                                1.6   1.6
           Review and respond to emails re: Strategy post-stay decision (.5); Review and respond to emails re:
10/21/2014 investigators reviewing early voting experiences (.5);                                                             1     1
           Review and respond to emails re: voting problems on the ground (.5); Review and respond to emails re: voting
10/22/2014 problems on the ground (.5); Confer with co-counsel re: voter surveys (1)                                          2     2
           Confer with co-counsel with co counsel re: section 3 issues (1); Confer with co-counsel with DOJ (1); Review
10/23/2014 and respond to emails re: investigators on the ground (.5);                                                        2.5   0.5
10/24/2014 Review and respond to emails re: Texas polling survey (1.5);                                                       1.5   1.5
10/26/2014 Review and respond to emails re: Section 3 strategy (.5);                                                          0.5   0.5
10/27/2014 Conference call with co counsel re Judgement (1)                                                                   1     1
10/28/2014 Review and respond to emails re: Section 3 relief draft order (.5);                                                0.5   0.5
10/29/2014 Review and respond to emails re: investigators (.5);                                                               0.5   0.5

10/31/2014 Review and respond to emails re: proposed order (.2); Review and respond to emails re: election strategy (.5);    0.7    0.7
 11/3/2014 Review and respond to emails re: communications strategy (.5);                                                    0.5    0
 11/6/2014 Review and respond to emails re: election-related issues (.3);                                                    0.3    0.3
 11/7/2014 Review and respond to emails re: transfer of exhibits (.5);                                                       0.5    0.5
11/12/2014 Review and respond to emails re: 5th Circuit merits brief (.5);                                                   0.5    0
11/17/2014 Review and respond to emails re: strategy for brief drafting (.2);                                                0.2    0.2
11/20/2014 Review and edit 5th circuit merits brief (3)                                                                      3      0
11/21/2014 Review and respond to emails re: motion to expedite (1); Review and respond to emails re: merits brief (.5);      1.5    1.5
 12/1/2014 Review and respond to emails re: motion to expedite draft (.2);                                                   0.2    0.2
           Review and respond to emails re: common interest privilege (.5); Review and respond to emails re: draft
 12/3/2014 response to motion to expedite (.2);                                                                              0.7    0.7
           Review and respond to emails with D. Ho re: legal strategy (.5); Review and respond to emails re: division of
           brief (.5); Review and respond to emails re: briefing notice (.1); Confer with co-counsel regarding brief
12/10/2014 preparation (.5)                                                                                                  1.6    1.1
12/15/2014 Review and respond to emails re: amicus strategy (.5);                                                            0.5    0
12/16/2014 Review and respond to emails re: appellate brief strategy (.5); Confer with co-counsel with DOJ (.7)              1.2    0
12/18/2014 Review and respond to emails re: district court record (.1);                                                      0.1    0
  1/5/2015 Review and respond to emails re: appellate brief strategy (.2);                                                   0.2    0.2
  1/6/2015 Review and respond to emails re: appellate brief strategy (.2);                                                   0.2    0.2
  1/9/2015 Review and respond to emails re: Motion to extend time (.2);                                                      0.2    0
 1/12/2015 Review and respond to emails re: appellate brief schedule (.2);                                                   0.2    0.2
 1/13/2015 Review and respond to emails re: appellate brief schedule (.1);                                                   0.1    0
 1/16/2015 Review, edit, and respond to emails re Brennan Center's sections of Brief (1);                                    1      1
 1/20/2015 Review and respond to emails re: Draft appellate brief (.2);                                                      0.2    0
 1/21/2015 Meet with BC team (Weiser, Clark, and Agaraharkar) re BC portion of appellate brief (1)                           1      1
 1/26/2015 Review and respond to emails re: Amicus strategy (.2);                                                            0.2    0.2
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          Review and respond to emails re: TX Motion to seal brief (.1); Review and revise defendants-appellants'
1/27/2015 opening brief on Appeal before the Fifth Circuit Stay Brief (.5)                                                0.6    0.5
1/28/2015 Review and respond to emails re: Texas opening brief (.5);                                                      0.5    0.5
1/29/2015 Review and respond to emails re: Draft appellate brief (.2);                                                    0.2    0
1/30/2015 Confer with co-counsel re Upcoming appellate brief (1)                                                          1      0
 2/2/2015 Review and respond to emails re: Legislative strategy (.2);                                                     0.2    0.2
 2/4/2015 Review and respond to emails re: Amicus strategy (.2);                                                          0.2    0.2
 2/5/2015 Review Draft appellate brief (1);                                                                               1      0
          Confer with co-counsel with co counsel re: Amicus strategy (1); Review and respond to emails re: Draft
 2/6/2015 appellate brief (.2); Confer with Private plaintiffs (1)                                                        2.2    2.2
 2/7/2015 Review Draft appellate brief (1);                                                                               1      0
2/10/2015 Confer with Lawyers' Committee re Amicus Brief (1)                                                              1      1
2/11/2015 Review and respond to emails re: Draft appellate brief (1.2);                                                   1.2    1.2
          Review and respond to emails re: Draft appellate brief comments (1.2); Confer with co-counsel re appellate
2/12/2015 brief draft (1)                                                                                                 2.2    2.2

2/13/2015 Review and respond to emails re draft appellate brief (.5); Meet with Brennan Center Texas team re brief (1) 1.5       1.5
2/14/2015 Review and respond to emails re draft appellate brief comments/edits from Lawyers' Comm. (1.5)                   1.5   1.5
2/15/2015 Review and respond to emails re draft appellate brief comments/edits from Lawyers' Comm. (.5)                    0.5   0.5
2/16/2015 Review and respond to emails re draft appellate brief comments/edits from Lawyers' Comm. (.5)                    0.5   0.5
          Confer with co-counsel with co counsel re Upcoming appellate brief (1); Review and respond to emails re brief
2/17/2015 strategy (.5)                                                                                                    1.5   0.5
2/18/2015 Review, edit, and respond to emails re appellate brief (1.5)                                                     1.5   1.5
          Review and respond to emails re TX proposed motion (.1); Review updated appellate brief and comments
2/19/2015 (1.2); Meet with Brennan Center Texas team re brief (1)                                                          2.3   1.1
2/20/2015 Review and respond to emails re appellate brief drafting (2)                                                     2     2
2/21/2015 Review and respond to emails re appellate brief drafting (1)                                                     1     1
2/22/2015 Review and respond to emails re appellate brief drafting (1)                                                     1     1
          Review and respond to emails re appellate brief drafting (1);Confer with Private plaintiffs (1); Review TX
2/23/2015 brief (1)                                                                                                        3     2
          Confer with co-counsel with co counsel re appellate brief (1); Review and respond to emails re brief strategy
2/24/2015 (1.5)                                                                                                            2.5   1.5
          Review and respond to emails re appellate brief opening (1); Review and respond to emails re appellate brief
2/25/2015 order of argument (1)                                                                                            2     2
2/26/2015 Review and respond to emails re appellate brief drafting (1)                                                     1     0
2/27/2015 Review and respond to emails re appellate brief intro drafting (1)                                               1     1
 3/1/2015 Review and respond to emails re appellate brief drafting (.1)                                                    0.1   0.1
 3/2/2015 Review and respond to emails re appellate brief edits (2)                                                        2     0
          Review and respond to emails re appellate brief filing (1); Review and respond to emails re section 2 research
 3/3/2015 by J. Clark (.5); Review and respond to emails re affected person (.5);                                          2     2
          Review and respond to emails re moot materials (.5); Review and respond to emails re filed appellate brief (.5);
 3/4/2015 Review and respond to emails re opposing counsel's motion to extend brief filing date (.5)                       1.5   1
3/18/2015 Review and respond to emails re oral argument strategy (.5)                                                      0.5   0.5
3/19/2015 Confer with co-counsel with co counsel re Oral argument (1)                                                      1     0
          Confer with co-counsel with co counsel re Oral argument (1); Review and respond to emails re oral argument
3/20/2015 strategy (.5)                                                                                                    1.5   0.5
          Confer with co-counsel with co counsel re Oral argument (1); Review and respond to emails re oral argument
3/23/2015 strategy (.5); Review and respond to emails re TX motion for extra length brief (.2)                             1.7   1.7
          Confer with co-counsel with co counsel re oral argument (1); Review and respond to emails re oral argument
3/24/2015 strategy (.5)                                                                                                    1.5   0
3/25/2015 Review and respond to emails re oral argument strategy (.5)                                                      0.5   0.5
3/27/2015 Review and respond to emails re oral argument strategy (.5)                                                      0.5   0.5
3/30/2015 Review and respond to emails re oral argument strategy (.5)                                                      0.5   0.2
3/31/2015 Review and respond to emails re oral argument strategy (.5)                                                      0.5   0
 4/2/2015 Review and respond to emails re Appellants reply brief out of time (.5)                                          0.5   0.3
          Confer with co-counsel with co counsel re Oral argument (1); Review and respond to emails re oral argument
 4/3/2015 strategy (2); Meet with Brennan Center Texas team re brief (1)                                                   4     1
          Conference cal with co counsel re Veasey motion (1); Review and respond to emails re oral argument strategy
 4/6/2015 (.5); Confer with co-counsel with co counsel re Oral argument (1)                                                2.5   1
 4/7/2015 Confer with co-counsel regarding oral argument (1.1)                                                             1.1   0
 4/8/2015 Review and respond to emails re oral argument prep (.5)                                                          0.5   0.3
 4/9/2015 Review and respond to emails re oral argument prep (.5)                                                          0.5   0.5
4/13/2015 Review and respond to emails re oral argument prep (1.5)                                                         1.5   0
4/14/2015 Review and respond to emails re oral argument prep (1)                                                           1     1
          Confer with co-counsel with co counsel re trial prep (1); Review and respond to emails re oral argument prep
4/15/2015 (.5); Draft brief (1)                                                                                            2.5   1
4/16/2015 Review and respond to emails re oral argument prep (1)                                                           1     1
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 4/17/2015 Review and respond to emails re oral argument prep (1)                                                             1           1
 4/20/2015 Review and respond to emails re oral argument prep (1)                                                             1           1
           Moot with co counsel in DC re trial prep (includes travel time) (10); Review and respond to emails re oral
 4/22/2015 argument prep (2); Confer with Private plaintiffs (1)                                                              13          0
 4/23/2015 Review and respond to emails re oral argument prep (1)                                                             1           1
 4/24/2015 Moot in NYC LDF office (3); Review and respond to emails re oral argument prep (1)                                 4           1
 4/25/2015 Review and respond to emails re oral argument opening and closing (2)                                              2           2
 4/27/2015 Review and respond to emails re oral argument prep (3); Travel to argument (5);                                    8           3
 4/28/2015 Oral argument (.4); return travel (4.5)                                                                            4.9         0.4
  5/1/2015 Confer w/ co-counsel (.5)                                                                                          0.5         0.5
 5/19/2015 Review and respond to emails re voter fraud allegations in TX (.2)                                                 0.2         0.2
 5/27/2015 Review and respond to emails re section Rule28(j) Material filed (.5);                                             0.5         0.5
           Confer with co-counsel with co counsel re Rule28(j) material filed (1.5); Review and respond to emails re
 5/28/2015 Texas supplemental filing (.5); Review and respond to emails re US response to Texas' May 27 letter (.5);          2.5         1
  6/1/2015 Review and respond to emails re section Rule28(j) response (.5);                                                   0.5         0
  6/9/2015 Review and respond to emails re Texas voter id legislation research (.5);                                          0.5         0.5
 6/22/2015 Review and respond to emails re Texas voter id legislation research/28j Letter (.5);                               0.5         0.5
 6/23/2015 Review and respond to emails re Texas voter id legislation research/28j Letter (.2);                               0.2         0.2
 6/24/2015 Review and respond to emails re Texas voter id legislation research/28j Letter (.2);                               0.2         0.2
 6/25/2015 Review and respond to emails re Texas voter id legislation research/28j Letter (.2);                               0.2         0.2
  7/2/2015 Review and respond to emails re Texas voter id legislation research/28j Letter (.5);                               0.5         0.5
  8/5/2015 Review 5th circuit opinion (1.5); Review and respond to emails re opinion (1.5)                                    3           0
  8/6/2015 Review and respond to emails re Opinion (.5)                                                                       0.5         0.5
 8/11/2015 Review and respond to emails re strategy post-opinion (.5); call with co-counsel regarding interim relief (.7)     1.2         0
           Review and respond to emails re Draft motion for a limited remand (.5); Confer with co-counsel re Motion for
 8/17/2015 Limited Remand (2.1)                                                                                               2.6         0
 8/18/2015 Review and respond to emails re interim relief strategy (.5); Confer with Plaintiffs and DOJ re next steps (1)     1.5         0
 8/19/2015 Review and respond to emails re interim relief strategy (.5);                                                      0.5         0
           Review and respond to emails re interim relief strategy (1); Confer with co-counsel with co counsel re interim
 8/20/2015 relief (1); Review and revise Motion for Limited Remand Brief (1)                                                  3           1
 8/21/2015 Review and respond to emails re interim relief strategy (.5);                                                      0.5         0
 8/22/2015 Review and respond to emails re interim relief strategy (.1);                                                      0.1         0.1
           Confer with co-counsel with E. Rosenberg re interim relief strategy (1); Review and respond to emails re
 8/24/2015 interim relief strategy (1.5); Confer with co-counsel with C. Dunn re inteim relief strategy (.6)                  3.1         1
 8/25/2015 Review and respond to emails re DOJ position on confidentiality (.2)                                               0.2         0
           Confer with co-counsel with co counsel re Interim relief strategy (1.5); Review and respond to emails re
           schedule for election material printing (.5); Review and respond to emails re: draft motion for limited remand
 8/26/2015 (.3); Travel to Austin, Texas for meeting with all counsel re: remedies (4);                                       6.3         0.8
 8/27/2015 Meet and confer in Texas (1); confer w/ co counsel and plaintiffs re: intermediate relief strategy (3);            4           0
 8/28/2015 Review and Revise Appellants' Petition for Rehearing En Banc Brief (1)                                             1           1
           Confer with co-counsel with co counsel/opposing counsel re interim relief strategy (1.5); Review and respond
           to emails re Texas's petition for rehearing en banc, motion to stay, and opposition to motions for remand (1.5);
           Confer with co-counsel with co counsel re strategy for upcoming briefs (1); Review and respond to emails re
 8/31/2015 doctrinal issues to be discussed (.5)                                                                              4.5         0.5
           Call with E. Rosenberg, G. Bledsoe, and otheres re: preparation for meet and confer regarding remedies (1.3);
           Confer with co-counsel with co counsel re doctrinal issues (1); Review and respond to emails with co counsel
  9/1/2015 re brief strategy (.5);                                                                                            2.8         0

  9/2/2015 Review and respond to emails with co counsel re brief strategy (.5); Review and plaintiffs' edit Reply Brief (1)   1.5         1
  9/3/2015 Review and respond to emails with co counsel re briefing strategy (.2);                                            0.2         0
  9/8/2015 Review and respond to emails with co counsel re DOJ's draft reply brief (.2);                                      0.2         0.2
           Confer with co counsel re DOJ reply brief draft (2); Review and respond to emails with co counsel re Reply
  9/9/2015 brief draft (1); Review and revise reply brief draft (1)                                                           4           4
 9/10/2015 Review and respond to emails with co counsel re Reply brief draft (.5); Finalize reply brief (1)                   1.5         1.5
 9/11/2015 Review and respond to emails with co counsel re briefs from DOJ/Veasey (.2);                                       0.2         0.2
 9/15/2015 Review and respond to emails re Texas constitution research (.2);                                                  0.2         0.2
 9/21/2015 Review and respond to emails re ID remedy (.2);                                                                    0.2         0.2
 11/5/2015 Review and respond to emails re possible 5th Circuit ruling (.1);                                                  0.1         0.1
 12/3/2015 Review and respond to emails re possible 5th Circuit ruling (.1);                                                  0.1         0.1
12/15/2015 Review and respond to emails re Draft 28(j) letter (.5);                                                           0.5         0
12/16/2015 Confer with co counsel re Draft 28(j) letter (2)                                                                   2           1.5
12/19/2015 Review and respond to emails re Draft 28(j) letter (.2);                                                           0.2         0.2
12/22/2015 Conference call with N. Koragaonkar and E. Rosenberg re strategy for further proceedings (.5)                            0.5         0
           Review and respond to emails with E. Rosenberg re: meet and confer regarding remedies (.2); call with E.
           Rosenberg re: confer with state regarding remedies (.5); call with all plaintiffs re: remedies (1); Meet with A.
 1/19/2016 Gitlin re: response to motion to stay (.2)                                                                         1.9         1.9
 1/29/2016 Review and respond to emails re: Strategy for potential motion on mandate (.5);                                    0.5         0.5
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1/31/2016 Review and respond to emails re Strategy for potential motion on mandate (.2)                                  0.2   0.2
 2/2/2016 Review and respond to emails re Strategy for potential motion on mandate (.2)                                  0.2   0.2
 2/6/2016 Review and respond to emails re advocacy strategy (.1);                                                        0.1   0.1
 2/8/2016 Review and respond to emails re advocacy strategy (.1);                                                        0.1   0.1
          Confer with co counsel re advocacy strategy (1); Review and respond to emails re Strategy for potential motion
 2/9/2016 on mandate (.3)                                                                                                1.3   1.3
2/10/2016 Confer with E. Rosenberg re Emergent relief discussion (.2)                                                    0.2   0.2
2/16/2016 Review and respond to emails re Upcoming strategy (.1);                                                        0.1   0.1
2/17/2016 Review and respond to emails re Relevant election deadlines (.2);                                              0.2   0.2
2/23/2016 Review and respond to emails re Relevant election deadlines (.1);                                              0.1   0.1
 3/2/2016 Review and respond to emails re Scheduling Confer with co-counsel (.1);                                        0.1   0.1
 3/7/2016 Review and respond to emails re Veasey draft motion (.2);                                                      0.2   0.2
 3/8/2016 Confer with co counsel re Veasey motion (2); Review and respond to emails re Veasey motion (.6)                2.6   2.6
          Review and respond to emails re Veasey motion (.3); Review and respond to emails re 5th Circuit order en
 3/9/2016 banc (1);                                                                                                      1.3   1.3
3/10/2016 Review and respond to emails re Proposed briefing schedule (.2);                                               0.2   0.2
3/14/2016 Review and respond to emails re Scheduling Confer with co-counsel (.2);                                        0.2   0.2
          Confer with co counsel re 5th Circuit order en banc (1); Confer with all plaintiffs re 5th Circuit order (1);
          Review and respond to emails re En Banc brief (.2); Review and respond to emails re J. Clark's legal research
3/15/2016 for en banc brief (.6);                                                                                        2.8   2.8
3/16/2016 Texas pre-call (.5); Review and respond to emails re Veasey motion proposal (.2);                              0.7   0.7
3/17/2016 Review and respond to emails re En Banc brief (.3);                                                            0.3   0.3
          Review and respond to emails re J. Clark's legal research for en banc brief (.2); Review and respond to emails
3/18/2016 re Letter in support of Veasey motion (.2);                                                                    0.4   0.4
3/24/2016 Review and respond to emails re Motion for emergency relief (.1);                                              0.1   0.1
3/28/2016 Review and respond to emails re J. Clark's legal research for en banc brief (.2);                              0.2   0.2
          Review and respond to emails re BC discriminatory history research for brief (1); Review and respond to
3/29/2016 emails re TX motion to extend brief deadline (.2);                                                             1.2   1.2
3/30/2016 Review and respond to emails re En Banc brief research (.2);                                                   0.2   0.2
 4/1/2016 Review and respond to emails re En Banc brief (.2);                                                            0.2   0.2
 4/5/2016 Review and respond to emails re En Banc brief schedule (.3);                                                   0.3   0.3
          Review and respond to emails re En Banc brief schedule (.3); Review and respond to emails re Amicus
 4/6/2016 strategy (.1);                                                                                                 0.4   0.4
 4/9/2016 Review and respond to emails re En Banc brief schedule (.1);                                                   0.1   0.1
4/11/2016 Review and respond to emails re En Banc brief (.2);                                                            0.2   0.2
4/12/2016 Confer with co counsel re 7th Circuit Frank decision (1)                                                       1     1
4/13/2016 Review and respond to emails re Amicus strategy (.4);                                                          0.4   0.4
4/14/2016 Review and respond to emails re Scheduling Confer with co-counsel (.1);                                        0.1   0.1
          TX Plaintiffs' Call - En Banc Briefing, Review and Revise Supplemental En Banc Brief for the State of Texas
4/15/2016 Brief (.5)                                                                                                     0.5   0.5
4/16/2016 Review TX Supplemental Brief (1.5)                                                                             1.5   1.5
4/17/2016 Review and respond to emails re TX supp. brief (.2);                                                           0.2   0.2
          Call with co counsel re TX supp. Brief (1.5); Review and respond to emails re Scheduling Confer with co-
4/18/2016 counsel (.1); Texas Photo ID Call on Amicus Participation (1)                                                  2.6   2.6
          Review and respond to emails re Oral argument planning (.2); Confer with E. Rosenberg re Oral argument
4/19/2016 planning (.5); Review and respond to emails re Appeal brief (.2);                                              0.9   0.9
          Review and respond to emails re En Banc brief (.2); Review and provide feedback for outline of En Banc brief
          (1.5); Review and respond to emails re Oral argument planning (.3); Review and respond to emails re Amicus
4/20/2016 strategy (.2); Texas Photo ID Call with BC team (.5)                                                           2.7   2.7
          Confer with co counsel re En Banc brief outline (1); Review and respond to emails re En Banc brief outline
          (.9); Review and respond to emails re Amicus strategy (.1); Review and provide feedback for updated outline
4/21/2016 of En Banc brief (1)                                                                                           3     3
          Review and respond to emails re En Banc brief (1); Review and respond to emails re Amicus briefs (.2);
4/22/2016 Review and provide feedback re section of en banc brief (1)                                                    2.2   2.2
4/25/2016 Review and respond to emails re En Banc brief (1); Review and respond to emails re Amicus briefs (.2);         1.2   1.2
          Review and respond to emails re Amicus briefs (.2); Confer with W. Weiser and S. Rosdeitcher re Draft of
4/26/2016 intent section (1.5)                                                                                           1.7   1.7
          Review and respond to emails re En Banc brief (1); Review Lawyers' Committees' draft of Brief section (1);
4/27/2016 Review and respond to emails re Amicus briefs (.2);                                                            2.2   2.2
          Review and respond to emails re En Banc brief (1); Review and provide feedback re section of en banc brief
4/28/2016 (1); Confer with J. Clark and S. Rosdeitcher re Draft en banc brief (1.5)                                      3.5   3.5
          Texas brief outline discussion with BC team (.5); Confer with co counsel re en banc brief (.6); Review and
4/29/2016 respond to emails re communications strategy (.1);                                                             1.2   1.1
 5/1/2016 Review and respond to emails re intent section (.8); Review and revise updated draft of en banc draft (1.5)    2.3   2.3
          Review and respond to emails re En Banc brief (1); Review and provide feedback for En Banc brief (5);
 5/2/2016 Review and respond to emails re Oral argument planning (.3);                                                   6.3   6.3
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           Discuss Comments on TX Brief Outline (2); Confer with co counsel re oral argument/en banc brief (3.2);
           Review and respond to emails re En Banc brief (1.2); Review and respond to emails re Oral argument planning
 5/3/2016 (1.1);                                                                                                          7.5   7.5
           TX Voter ID Call (1); Review and respond to emails re En Banc brief (2); Review and respond to emails re
           Oral argument planning (1.3); Review and provide feedback re: J. Clark's Statement of Case (1.2); Review and
 5/4/2016 provide feedback for En Banc brief (2);                                                                         7.5   7.5
           Review and respond to emails re En Banc brief (3); Review, provide feedback for, and consolidate En Banc
 5/5/2016 brief (10);                                                                                                     13    13
           Review and respond to emails re En Banc brief (2); Review, provide feedback for, and consolidate En Banc
 5/6/2016 brief (4);                                                                                                      6     6
           Confer with co counsel re En banc brief (1); Review and respond to emails re En Banc brief (3); Review,
 5/7/2016 provide feedback for, and consolidate En Banc brief (7);                                                        11    11
           Review and respond to emails re En Banc brief (2); Review, provide feedback for, and consolidate En Banc
 5/8/2016 brief (7);                                                                                                      9     9
           Review and respond to emails re En Banc brief (2); Review, provide feedback for, and consolidate En Banc
 5/9/2016 brief (3);                                                                                                      5     5
5/10/2016 Oral argument mock (4); Review and respond to emails re oral argument (.2);                                     4.2   4.2
5/11/2016 Confer with co counsel re oral argument (.6);                                                                   0.6   0.6
5/16/2016 Review DOJ brief and circulate notes (2)                                                                        2     2
5/18/2016 Review and respond to emails re oral argument (.2);                                                             0.2   0.2
           Travel to and from DC for moot (6 hours); Participate in moot (2.5); Review and respond to emails re
5/19/2016 communications strategy (.2);                                                                                   8.7   2.5
           Review and respond to emails re communications strategy (.2); Review and respond to emails re 28(j) letter
5/20/2016 (.2);                                                                                                           0.4   0.2
           Review and respond to emails re communications strategy (.2); Review and respond to emails re 28(j) letter
5/21/2016 (.3);                                                                                                           0.5   0.3
5/22/2016 Review and respond to emails re 28(j) letter (.3);                                                              0.3   0.3
5/23/2016 Flight to NOLA for argument (4.6); Review and respond to emails re 28(j) letter (.1);                           4.7   0.1
5/24/2016 Oral argument (.5); Review and respond to emails re oral argument recap (.2); Travel home (4.6)                 5.3   0.2
5/25/2016 Review and respond to emails re oral argument recap (.8); Call on Texas Photo ID (1)                            1.8   1.8
5/26/2016 Review and respond to emails re oral argument recap (.2);                                                       0.2   0.2
5/31/2016 Review and respond to emails re oral argument recap (.3);                                                       0.3   0.3
           Confer with co counsel re oral argument recap (1.2); Review and respond to emails re oral argument recap
 6/1/2016 (.3);                                                                                                           1.5   1.5
 6/9/2016 Texas oral argument call (.5)                                                                                   0.5   0.5
6/15/2016 Review and respond to J. Clark's memo re Summary of Amicus briefs (1)                                           1     1
6/20/2016 Review and respond to J. Clark's strategy re Summary of Amicus briefs (.2)                                      0.2   0.2
6/27/2016 Review and respond to emails re Amicus strategy (.2)                                                            0.2   0.2
6/29/2016 Review and respond to emails re 28(j) strategy (.2)                                                             0.2   0.2
6/30/2016  Confer  w E. Rosenberg   re Amicus  strategy                                                                   0.4   0.4
           Review and respond to emails re communications strategy (.2); Review and respond to emails re 5th circuit
 7/6/2016 outcomes (.4)                                                                                                   0.6   0.6
 7/7/2016 Confer w co-counsel re 5th circuit outcomes (1)                                                                 1     1
7/11/2016 Confer w co counsel re 5th circuit strategy (1)                                                                 1     1
7/13/2016 Review and respond to emails re 5th circuit outcomes (.2)                                                       0.2   0.2
           Texas Photo ID call (1); Review and respond to emails re Scheduling Confer with co-counsel (.1); Review and
7/18/2016 respond to emails re communications strategy (.3);                                                              1.4   1.4
           Review and respond to emails re Supreme Court filing (.2); Review En Banc decision (1); Review and respond
7/20/2016 to emails re En Banc decision (1);                                                                              2.2   2.2
           Veasey Plaintiffs call (1); Review and respond to emails re En Banc decision (2); Review J. Clark's En Banc
7/21/2016 opinion summary (.5); Review and respond to emails re Remedy implementation (.3);                               3.8   3.8
           Call with E. Rosenberg and LDF re: response to motion to stay (.5); Confer with opposing counsel re
           upcoming elections (1); Review and respond to emails re implementation (2); Confer with co counsel re
 22-Jul-16 implementation (1)                                                                                             4.5   4.5
7/23/2016 Confer with co counsel re implementation (1); Review and respond to emails re implementation (4);               5     5
7/24/2016  Review  and  respond  to emails re Spanish affidavit for election (2);                                         2     2
           Review and respond to emails re interim remedy positions (2); Review and respond to emails re Motions
7/25/2016 schedule (.1);                                                                                                  2.1   2.1
7/26/2016 Confer w co counsel re interim remedy (1); Review and respond to emails re interim remedy strategy (1.5);       2.5   2.5
           Review and respond to emails re alternative identification (.5); Confer w E. Rosenberg re interim remedy (.8);
           Confer with co counsel re interim remedy (1); Research re interim remedy (4); Review and respond to emails
7/27/2016 re provisional ballots (.5);                                                                                    6.8   6.3
           Review and respond to emails re interim remedy (3); Review E. Kelley and J. Clark's research on interim
7/28/2016 remedy (2)                                                                                                      5     5
           Review and respond to emails re public records request (.5); Review and respond to emails re interim remedy
7/29/2016 (1.2);                                                                                                          1.7   1.7
7/30/2016 Confer w/ co-counsel re interim remedy (1.5); Confer with opposing counsel (.5);                                2     2
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  8/1/2016 Review and respond to emails re interim remedy (2)                                                               2     0
           Review and respond to emails re interim remedy (1.2); Review and respond to emails re settlement
           negotiations (.2); Confer with co counsel re interim remedy (1); Review TX's proposed reasonable impediment
  8/2/2016 declaration (.5); Review DOJ's draft of Joint Plan (1)                                                           3.9   0
           Review and respond to emails re interim remedy (1.2); Confer with co counsel re interim remedy (1); Draft,
  8/3/2016 circulate, and revise draft education/training brief (5);                                                        7.2   5
           Review and respond to interim order draft (1.2); Revise draft education/training brief (2); Review and respond
  8/4/2016 to emails re communications strategy (.3)                                                                        3.5   1.7
           Review and respond to emails re oral argument (.3); Review and respond to emails re interim relief strategy
  8/5/2016 (1); Final read-through of DOJ's, Texas', and private plaintiffs' response briefs (2).                           3.3   1.3
           Confer with co counsel re oral argument/briefs recap (.5); Review and respond to emails re intent argument
  8/8/2016 (.7); Argument preparation (3)                                                                                   4.2   3.5
           Review and respond to emails re intent argument (.3); Hearing moot (2); Review and respond to emails re
  8/9/2016 training/education material (.5); Hearing prep (1.5); Confer with co counsel re Intent Schedule (1)              5.3   4
           Status conference re: Joint Submission of Agreed Terms (1.1); Confer with opposing counsel re Training and
           Education (1); Review and respond to emails re Hearing recap (1); Review and respond to emails re
           training/education research (2); Review and discuss Order on interim plan for elections (1.5); Draft outline for
 8/10/2016 upcoming strategy on interim remedy (1.5)                                                                        8.1   4.5
           Review and respond to emails re interim remedy strategy (1.5); Confer re interim remedy strategy (1); Review
 8/11/2016 and respond to emails re training/education strategy (1.4);                                                      3.9   1.4
           Review and respond to emails re Supplemental CBOs (2); Review and respond to emails re training/education
           research (2); Review and respond to emails re interim remedy strategy (2.5); Confer re voter education plan
           and election official training program (2); Status conference re voter education plan and election official
 8/12/2016 training program (.5)                                                                                            9     6.5
 8/16/2016 Review and respond to emails re training/education research (1);                                                 1     1
           Review and respond to emails re outreach strategy for TX counties with upcoming elections (1); Review and
 8/17/2016 respond to emails re translation services (2);                                                                   3     3
 8/22/2016 Review and respond to emails re interim remedy strategy (.5);                                                    0.5   0.5
           Review and respond to emails re outreach strategy for TX counties with upcoming elections (.1); Review and
 8/23/2016 respond to emails re interim remedy strategy (.3);                                                               0.4   0.4
           Review and respond to emails re intimidation issue (.5); Review and respond to emails re interim remedy
 8/24/2016 strategy (1.5);                                                                                                  2     1.5
           Confer with co counsel re interim remedy (1); Review and respond to emails re outreach strategy for TX
 8/26/2016 counties with upcoming elections (.1); Review and respond to emails re interim remedy strategy (1);              2.1   1.1
 8/27/2016 Confer with co counsel re interim remedy (1.2);                                                                  1.2   0

 8/28/2016 Confer with co counsel re interim remedy (1.2); Review and respond to emails re interim remedy strategy (2); 3.2       0
           Review and respond to emails re Veasey draft letter to state (.8); Review and respond to emails re interim
 8/30/2016 remedy strategy (.5);                                                                                        1.3       0
           Review and respond to emails re Draft Motion to Enforce Remedial order (2); Call with private plaintiffs re:
  9/6/2016 interim remedy negotiations (.5); call with plaintiffs & Texas re: interim remedy (.9)                       3.4       0
           Review and respond to emails re Motion for Additional Relief (1.5); Review and respond to emails re LUPE
  9/7/2016 and San Antonio NAACP declarations (1.9);                                                                    3.4       1.9
  9/9/2016 Review and respond to emails re outreach strategy for TX counties (.7);                                      0.7       0.7
           Review and respond to emails re Upcoming hearing (.3); Review and respond to emails re reasonable
 9/12/2016 impediment declarations (.4)                                                                                 0.7       0.4
 9/14/2016 Review and respond to emails re Upcoming elections materials (.6);                                           0.6       0.6
 9/15/2016 Review   and  respond to emails re DOJ   pending  motion (.4);                                               0.4       0
           Confer with co counsel re State's response brief (1); Review and respond to emails re DOJ pending motion
 9/16/2016 (.9);                                                                                                        1.9       0
 9/23/2016 Review and respond to emails re Texas' filed petition (.4);                                                  0.4       0
 9/26/2016 Review and respond to emails re Harris County ID poster (.2);                                                0.2       0.2
 9/27/2016 Confer with co counsel re Cert petition (1.2); Review and respond to emails re intent briefing (.8);         2         0
 9/28/2016 Confer with co counsel re Cert petition (1.2); Review and respond to emails re Cert petition (1.3);          2.5       1.1
 9/29/2016 Review and respond to emails re Cert petition (.6);                                                          0.6       0.6
           Review and respond to emails re Scheduling Confer with co-counsel (.1); Review and respond to emails re
 9/30/2016 Circuits research (.3);                                                                                      0.4       0.3
 10/3/2016 Review and respond to emails re Harris Count RID implementation (.2);                                        0.2       0.2
 10/5/2016 Review and respond to emails re media campaign materials (.3);                                               0.3       0
 10/6/2016 Confer with co counsel re Cert petition (1.1);                                                               1.1       0
10/10/2016 Review and respond to emails re Scheduling/approach (.2);                                                    0.2       0.2
           Review and respond to emails re Scheduling/approach (.1); Review and respond to emails re voter registration
10/11/2016 deadlines (.2);                                                                                              0.3       0.3
           Review and respond to emails re draft DOJ FOF (1.2); Confer with co counsel re FOF draft and opp. Cert
10/17/2016 status (1.1); Review J. Clark's edits to FOF (.8)                                                            3.1       0.8
10/18/2016 Review and respond to emails re DOJ FOF (.2);                                                                0.2       0
10/19/2016 Review and respond to emails re DOJ FOF (.2); Confer re amicus brief coordination (1)                        1.2       1.2
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     10/24/2016 Meet with co counsel at LDF NYC office re intent discussion (1.5)                                               1.5            0
     10/25/2016 Review and respond to emails re education/compliance issues (.5);                                               0.5            0.5
     10/26/2016 Review and respond to emails re intent brief working outline (1);                                               1              0
     10/27/2016 Confer w co counsel re intent brief call (1)                                                                    1              0
                Review and respond to emails re intent brief working outline (.2); Review and respond to emails re intent brief
     10/28/2016 schedule (.5); Confer w co counsel re intent brief call (1)                                                     1.7            0
      11/1/2016 Review and respond to emails re intent brief draft/schedule (1.2);                                              1.2            0
                Review and respond to emails re public education campaign (.5); Review and respond to emails re intent brief
      11/2/2016 draft/schedule (.8); Review J. Clark's draft of brief (1)                                                       2.3            0.5
      11/3/2016 Review/revise J. Clark's draft of brief (1)                                                                     1              0
      11/4/2016 Review and respond to emails re intent brief draft (.5);                                                        0.5            0
      11/5/2016 Review and respond to emails re intent brief draft (1);                                                         1              0
      11/7/2016 Review and respond to emails re election day follow up (1.2);                                                   1.2            1.2
      11/9/2016 Review and respond to emails re provisional ballots (.8);                                                       0.8            0.8

     11/10/2016 Review and respond to emails re intent brief draft (1); Review and respond to emails re provisional ballots (.7); 1.7          0.7
     11/13/2016 Review and respond to emails re intent brief draft (2);                                                           2            0
     11/14/2016 Review and respond to emails re cert petition (.2);                                                               0.2          0.2
     11/16/2016 Review and respond to emails re remand brief draft (1.5);                                                         1.5          0
     11/17/2016 Review and respond to emails re complete brief draft (1.5); Confer w E. Rosenberg re Cert issues (1)              2.5          0
     11/18/2016 Review, edit, and respond to emails re opp. Cert. working draft (1.5);                                            1.5          0
     11/19/2016 Review, edit, and respond to emails re opp. Cert. working draft (1);                                              1            0
                Review and respond to emails re Scheduling Confer with co-counsel (.1); Review and respond to emails re
     11/21/2016 complete brief draft (1);                                                                                         1.1          0.1
     11/22/2016 Confer w co counsel re upcoming strategy (1.1); Confer w E. Rosenberg re upcoming strategy (1)                    2.1          0
     11/23/2016 Review and respond to emails re brief draft (1.5); Confer w S. Rosdeitcher re brief draft (1)                     2.5          1
     11/24/2016 Review and respond to emails re brief draft (1.5);                                                                1.5          1.5
     11/25/2016 Review and respond to emails re brief draft (1);                                                                  1            0
     11/26/2016 Revise and circulate BC's section of opp. to cert (1.5)                                                           1.5          1.5
                Review and respond to emails re Scheduling Confer with co-counsel (.1); Review and respond to emails re
     11/28/2016 brief draft (2);                                                                                                  2.1          0.1
                Confer with S. Rosdeitcher re reply brief (1); Confer with co-counsel re reply breifing (1); Review and respond
     11/29/2016 to emails re brief outline/strategy (1);                                                                          3            0

Vishal Agraharkar

      8/27/2013 Call with potential partner (.75); Call with potential co-counsel (.75)                                                  1.5         0
      8/30/2013 Call with potential co-counsel (.75); Call with Sonia LC (.25); Research into locations (1.2)                            2.2         0
       9/4/2013 Plaintiff search plan (2); Call with Sonia (.25)                                                                        2.25         0
                Reviewing research that Hannah (Legal Intern) did into research into TX locations; Plaintiff search into
       9/5/2013 locations (3)                                                                                                              3         0
       9/6/2013 Plaintiff search into locations (3)                                                                                        3         0
       9/7/2013 Flight to TX (4)                                                                                                           4         0
       9/8/2013 Searching for witnesses/voter education (12)                                                                              12         0
       9/9/2013 Searching for witnesses/voter education (12)                                                                              12         0
      9/10/2013 Searching for witnesses/voter education (12)                                                                              12         0
      9/11/2013 Searching for witnesses/voter education (12)                                                                              12         0
      9/12/2013 Searching for witnesses/voter education (12)                                                                              12         0
      9/13/2013 Searching for witnesses/voter education (6)                                                                                6         0
     10/21/2013 Call with A.L. about possible witnesses (.25)                                                                           0.25         0
      11/6/2013 Call with LC and Deschert about plaintiff search (1)                                                                       1         0
     11/21/2013 Drafting contract for ind. contractor (.75)                                                                             0.75         0
      2/14/2014 Meeting with potential witness A. (.5)                                                                                   0.5         0
      5/14/2014 Miscellaneous hearing re: DE (.3)                                                                                        0.3         0
      5/15/2014 Preparing for Cesinger deposition (2.5)                                                                                  2.5         0
      5/16/2014 Preparing for Cesinger deposition (3)                                                                                      3         0
      5/20/2014 Cesinger deposition (5.2)                                                                                                5.2         0
       6/5/2014 Cesinger deposition (3.2)                                                                                                3.2         0
      7/22/2014 David Robledo Call (.5); Call about affected persons (.75)                                                              0.75         0

Jennifer Clark
      4/30/2014 Joe Peters Deposition (7.9)                                                                                      7.9                 0

Maximillian Feldman
     9/18/2017 Analysis regarding district court and Fifth Circuit opinions (7.4)                                                7.4           0
                Research and analysis regarding VRA and consitutional issues (1.6); Analyze post-trial proposed findings of
     9/19/2017 fact and law (4.7)                                                                                                6.3           0
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           Research and analysis regarding remedies (1.5); Research and analysis regarding VRA and constitutional
 9/20/2017 issues (1.3)                                                                                                    2.8   0
 9/25/2017 Review proposed outline of issues for brief (.5); Telephone conference with co-counsel (.5)                     1     0
 10/4/2017 Analysis regarding mootness issue (1.0)                                                                         1     0
 10/5/2017 Analysis regarding mootness issue (2.1); Analysis regarding intentional discrimination issue (.2)               2.3   0
10/10/2017 Analysis regarding mootness issues (.6)                                                                         0.6   0
10/11/2017 Analysis regarding proposed brief outline (1.1)                                                                 1.1   0
10/16/2017 Research regarding burdens of proof (2.4)                                                                       2.4   0
10/17/2017 Research regarding burdens of proof (1.4)                                                                       1.4   0
10/18/2017 Analysis regarding Appellants’ brief (4.2); Research regarding mootness and scope of relief (2.6)               6.8   0
10/19/2017 Telephone conference with co-counsel (.5)                                                                       0.5   0
10/20/2017 Analysis regarding cases cited in Appellants’ brief (7.2)                                                       7.2   0
10/23/2017 Analysis regarding cases cited in Appellants’ brief (7.6)                                                       7.6   0
10/24/2017 Analysis regarding cases cited in appellants’ brief (.5); Research in support of opposition brief (1.8)         2.3   0
10/25/2017 Analysis regarding cases (2.5); analysis regarding amicus brief (1.8)                                           3.3   0
10/26/2017 Draft portions of brief and analyze record (4.9)                                                                4.9   0
10/27/2017 Analysis regarding turnout issue and draft proposed response to amici on turnout issue (2.9); Analyze DOJ brief4.3    0
10/30/2017 Review working draft of opposition brief (3.0)                                                                  3     0
10/31/2017 Telephone conference with co-counsel regarding opposition brief (.8); Analysis regarding opposition brief (4.1) 4.9   0
 11/3/2017 Review and revise opposition brief (4.9)                                                                        4.9   0
 11/6/2017 Review and revise opposition brief (5.2)                                                                        5.2   0
11/14/2017 Prep for oral argument (4.5)                                                                                    4.5   0
11/15/2017 Prep for oral argument (4.5)                                                                                    2.5   0
11/20/2017 Review Fifth Circuit reply brief (.7)                                                                           0.7   0
           Team telephone conference regarding potential motion to vacate stay (.3); Research regarding Texas election
 12/8/2017 schedule in support of potential motion to vacate stay (1.2)                                                    1.5   0
12/14/2017 Revise motion to lift stay and email correspondence with team regarding same (2.3)                              2.3   0
12/15/2017 Review motion to lift stay (.4)                                                                                 0.4   0
  2/5/2018 Analysis regarding updated Texas public-facing voting materials and email correspondence with Ms. Aden rega 1.5       0
 6/27/2018 Analyze Texas’s motion to dismiss (.6)                                                                          0.6   0
 6/28/2018 Research iso opposition to Texas’s motion to dismiss (2.1)                                                      2.1   0
  7/2/2018 Research iso opposition to Texas’s motion to dismiss (1.5); Telephone conference with co-counsel regarding op 2.1     0
 7/10/2018 Telephone conference with co-counsel regarding opposition to motion to dismiss (.9)                             0.9   0
 7/11/2018 Legal research in support of opposition to motion to dismiss (2.1)                                              2.1   0
 7/12/2018 Legal research in support of opposition to motion to dismiss (5.3)                                              5.3   0
 7/16/2018 Research regarding opposition to motion to dismiss and revise same (2.8)                                        2.8   0
 7/18/2018 Research regarding opposition to motion to dismiss and revise same (3.2)                                        3.2   0
 7/19/2018 Research regarding opposition to motion to dismiss and revise same (.4)                                         0.4   0
 7/20/2018 Review draft opposition to motion to dismiss (.1)                                                               0.1   0
 7/30/2018 Review draft opposition to motion to dismiss (.9)                                                               0.9   0
 10/9/2018 Telephone conference with co-counsel regarding fees (.4)                                                        0.4   0
